LUDWIG Thompson was charged with contempt in a disciplinary proceeding against a Colorado attorney instituted by the attorney general on order of this court. Neither this disciplinary action nor this contempt charge was caused to be instituted by the interposition or action of our grievance committee. After issues joined, the cause was referred to a referee, Hon. Stanley T. Wallbank, who filed his report September 22, 1932, finding respondent guilty of contempt of this court, whereupon respondent was allowed twenty days within which to file exceptions thereto. No exceptions were filed within that time. *Page 567 
The referee's report discloses that on October 4, 1929, Thompson made an affidavit, charging a Denver lawyer with gross unprofessional conduct, for the purpose of being, and thereafter to be, used in disbarment proceedings against him.
In January, 1930, disbarment proceedings (No. 12,543) were instituted, based, inter alia, upon said affidavit and therein before Mr. Justice Burke, to whom the case had been referred, respondent swore in effect that the statements made in the affidavit were untrue.
We approve the referee's report which sets forth in detail the charge and testimony herein and that given before Mr. Justice Burke in the disbarment proceedings.
We find the respondent, Ludwig Thompson, guilty of criminal contempt of this court; decree that he be fined therefor the sum of $300, and that he be incarcerated forthwith in the jail of the City and County of Denver and there held for a period of three months or until said fine has been paid or until further order of this court.
MR. JUSTICE ALTER concurs in the conclusion but believes that the penalty is inadequate.
MR. JUSTICE BUTLER specially concurs.
MR. JUSTICE HILLIARD dissents.
MR. JUSTICE BURKE not participating.